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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 19-CR-20562-WILLIAMS

UNITED STATES OF AMERICA

VS.

GUILLERMO BARRERA LARA,

Defendant.
/

 

FACTUAL PROFFER |
The United States of America, GUILLERMO BARRERA LARA, and his counsel agree
| that, had this case proceeded to trial, the United States would have proven the following facts,
‘among others, beyond a reasonable doubt:

In June of 201 8, co-defendant PABLO AMEZCUA DORADOR was introduced to a law
enforcement confidential source (“CS”) via telephone. AMEZCUA and the CS met in Panama
City, Panama, on June 18, 2019. CS told AMEZCUA that he worked for Colombian cocaine
traffickers, and needed drug proceeds moved out of the United States. AMEZCUA stated that he
owned a financial firm in Mexico and had mechanisms in place to move the money for the CS.
During this same meeting, AMEZCUA told the CS that he wanted to introduce the CS to heroin
traffickers form whom he (AMEZCUA) laundered money. CS responded that he was looking to
obtain heroin, and explained how he could dilute pure heroin to maximize profits in the United
States. CS offered AMEZCUA a commission of $65,000 for each kilogram that he could obtain

- for CS, and AMEZCUA agreed. The men discussed additional potential money laundering and
drug trafficking that they could engage in, and agreed to meet a second time in Guatemala.

On July 19, 2019, the CS and AMEZCUA had a second meeting in Guatemala City,

Guatemala. Prior to the meeting, AMEZCUA had also arranged for a Mexican heroin trafficker,
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identified only as “Adrian,” to come to the meeting. The CS met with AMEZCUA and the heroin
trafficker, who stated that he was a member of a Mexican drug cartel. The CS, AMEZCUA, and
Adrian discussed exchanging heroin for cocaine in Miami. AMEZCUA and Adrian then spoke
privately, and AMEZCUA returned and told the CS that Adrian would do business with the CS,
but that it had to go through AMEZCUA.

During this same meeting, AMEZCUA and the ‘CS also discussed money laundering

] activities, and AMEZCUA stated that he had a friend named Guillermo BARRERA LARA
(“BARRERA”) who could be used to facilitate money laundering in Mexico. The CS told
AMEZCUA that he had a Mexican-Lebanese client who had accumulated approximately $15-$16
million from the sale of cocaine in Miami, and needed to move the moriey out of the United States.
AMEZCUA and the CS also discussed using airplanes owned by BARRERA and a yacht owned
by AMEZCUA to move money out of the United States.

On July 24, 2019, AMEZCUA and BARRERA met the CS at the Opa-Locka Airport, in
Miami, Florida, and drove to a restaurant. The CS stated that he needed to launder $17 million of
drug proceeds out of the United States. AMEZCUA and BARRERA discussed the percent
commissions they would charge to assist the CS, and used a calculator to show the CS that he
would receive $11.7 million after they took their commissions. ‘BARRERA then explained that
he would use the $11.7 million to construct a real estate development in Tulum, Mexico.
BARRERA brought the CS a portfolio, including blueprints and design plans, for that resort.
Further discussions of possible future money laundering followed.

During this meeting, the CS also discussed heroin smuggling, stating that BARRERA and - ;

AMEZCUA would have to prove their trustworthiness by helping him smuggle heroin into the

United States. BARRERA agreed to allow the CS to use his plane, and AMEZCUA agreed to let
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the CS to use his yacht to smuggle heroin from the Bahamas to Miami. The CS gave a detailed .
explanation about how each kilogram would be diluted prior to distribution, and stated that he
would pay BARRERA and AMEZCUA a commission for aiding in smuggling the heroin to the .

United States. _ .

On August 5, the CS, BARRERA, and AMEZCUA had a fourth meeting in Miami to plan
the heroin trafficking and money laundering. They agreed that BARRERA and AMEZCUA
would move their plane and yacht, respectively, to the Bahamas, where each would be loaded with
five kilograms of heroin. BARRERA and AMEZCUA would send the vessels containing the
heroin to Miami, where it would be received and sold by the CS. Once back in the United States,
the CS would load BARRERA’s plane with $17 million in cash narcotics proceeds. BARRERA
and AMEZCUA would then meet the CS, receive approximately $300,000 for their role in
smuggling the heroin, and fly the additional $17 million back to Mexico, where they would
launder it and invest it in real estate as discussed in prior meetings.

On August 19, the CS met with AMEZCUA and BARRERA in the Bahamas.
AMEZCUA showed the CS where to hide the five kilograms of heroin on his yacht and
BARRERA showed the CS where to hide the five kilograms of heroin his plane. The CS then
took the men to his hotel and showed them ten kilograms of sham heroin. Later that night, the CS
hid five kilograms of sham heroin each in the places directed by AMEZCUA and BARRERA.

On August 20, AMEZCUA’s yacht, a 40-foot Sea Ray Sundancer yacht, hull number
SERF077H506, departed the Bahamas with the five kilograms of sham heroin departed for the
United States. Later that same day, BARRERA’s plane, a Cessna Citation 500 plane, serial ,

number 500-0198, with Mexican tail number XB-TRN, departed the Bahamas and landed at the
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Opa Locka Airport in Miami with five kilograms of sham heroin on board. AMEZCUA’s yacht
arrived in Miami the following day, August 21.

AMEZCUA and BARRERA arrived in Miami on board a commercial airplane later in the
day on August 21. After they arrived, the CS picked them up in a car to drive them to their hotel.
The CS asked whether he could use another airplane owned by BARRERA to bring 30 kilograms
of heroin to New York, to which AMEZCUA and BARRERA agreed. The men agreed they
would meet the following day, August 22, so that the CS could pay AMEZCUA and BARRERA
‘their share of the heroin trafficking proceeds and load the additional $17 million in narcotics
proceeds on a second plane owned by BARRERA to smuggle to Mexico. Specifically,
AAMEZCUA and BARRERA requested $300,000 of their narcotics proceeds to be given to them in
person so they could go shopping in Bal Harbour, and the remaining proceeds to be hidden onto
the plane. AMEZCUA also specifically confirmed that the $17 million in narcotics would be
hidden on the plane.

On August 22, AMEZCUA and BARRERA met the CS at the Opa-Locka Executive
Airport. The CS provided BARRERA with a small bag that purported to contain $100,000,
which BARRERA placed aboard one of his planes. The CS then brought BARRERA and
AMEZCUA a second bag and showed them the inside of the bag, which purported to contain

_ $300,000 in U.S-currency. AMEZCUA and BARRERA took the bag, at which point they were
arrested by law enforcement. |

Post-Miranda, both AMEZCUA and BARRERA were advised of their Miranda rights and:
agreed to speak to law enforcement. Both men confessed to their involvement in the money

laundering and drug smuggling activities detailed above.
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These facts are sufficient to prove the Defendant’s guilt of Count 1 of the Indictment

beyond a reasonable doubt.

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Date:

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